EXHIBIT 5
                                                                                            Robert Faulkner
                                                                                                       PARTNER
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                                                                                            OFFICE: 314.863.0800

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October 3, 2022

VIA FEDEX

SA Hospital Real Estate Holdings, LLC
3933 South Broadway
St. Louis, MO 63118
Attn: Jeffrey Alholm
        Lawrence Feigen

With a copy to:

Frankel, Rubin, Klein, Payne & Pudlowski, P.C.
231 South Bemiston Avenue, Suite 1111
Clayton, MO 63105
Attn: Mayer Klein

Frank Saidara
10601 Ashton Avenue, Suite 101
Los Angeles, CA 90024

Re:     Notice of Default and Reservation of Rights

To Whom It May Concern:

Reference is hereby made to that certain ground lease entered into between Twain GL XXV, LLC, as
ground lessor (“Landlord”), and SA Hospital Real Estate Holdings, LLC, as ground lessee (“Tenant”),
dated as of December 29, 2021 (as amended or otherwise modified from time to time, the “Ground
Lease”). Unless otherwise defined in this letter, capitalized terms used herein and not otherwise defined
shall have the meanings ascribed to such terms in the Ground Lease.

This letter provides you with written notice that Tenant is in default under the terms of the Ground Lease.
Specifically, (i) Tenant has caused an unreasonable delay in the construction of the Work, such that, in
Landlord’s judgment, the Work may not be completed on or before the Completion Date (the
“Construction Delay”), and (ii) Tenant made a material misrepresentation in the Written Request for
Disbursement No. 2 dated as of February 23, 2022 that “the loans and Work current sources and uses are
consistent with the Budget” (the “Material Misrepresentation”). The Construction Delay is a default and
breach under Section 11.03(g) of the Ground Lease and the Material Misrepresentation is a default and
breach under the Ground Lease (collectively, the Construction Delay and Material Misrepresentation are
referred to herein as the “Specified Default”). In addition, Tenant failed to provide its financial
statements for (i) 2021 year-end and (ii) the first and second quarters of 2022, as required by Section
13.18 of the Ground Lease. The occurrence of the Specified Default entitles Landlord to exercise certain
rights and remedies as more specifically set forth in the Ground Lease.

                              7700 Forsyth Blvd, Suite 1100, St. Louis, MO 63105



176810565
SA Hospital Real Estate Holdings, LLC
October 3, 2022
Page 2


Landlord hereby expressly reserves any and all of the rights, powers, privileges, and remedies available to
Landlord under the Ground Lease and applicable law, in each case, that have arisen or may arise as a
result of the Specified Default. Landlord also reserves its rights and remedies with respect to any other
agreements under which the occurrence of the Specified Default automatically becomes a default under,
or results in the maturity or acceleration of, such agreement. No delay by Landlord in acting shall
constitute a requirement to make additional disbursements under the Ground Lease or a waiver of the
Specified Default or Landlord’s rights in connection therewith. The occurrence and continuation of the
Specified Default may result in Landlord incurring attorney’s fees and other costs of collection for which
Tenant may be liable.

Please be advised that the acceptance by Landlord of any further payments to the extent they do not
represent timely or full payment of all amounts then due under the Ground Lease, including all accrued
and unpaid Rent, late fees, attorneys’ fees, or other reimbursable expenses, shall not constitute a waiver
by Landlord of any default or breach which may exist under the Ground Lease, including without
limitation, the Specified Default.

Landlord hereby notifies Tenant that at no time shall any prior or subsequent course of conduct by Tenant
or Landlord directly or indirectly limit, impair, or otherwise adversely affect any of Landlord’s rights,
interests, or remedies in connection with the Ground Lease or obligate Landlord to agree to, or to
negotiate or consider an agreement to, any waiver of any obligation, default or event of default by Tenant
under the Ground Lease or any amendment to any term or condition of the Ground Lease.

If you have any questions concerning this notice, please do not hesitate to contact me. Thank you for
your attention to this matter.

Sincerely,

Stinson LLP



Robert Faulkner




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